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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11       PAMELA J. D., 1                              Case No. 5:20-cv-2573-MAR
12                                 Plaintiff,         JUDGMENT
13             v.
14       KILOLO KIJAKAZI,
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         Commissioner of Social Security,

16                                 Defendant.

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              It is the judgment of this Court that the final decision of the Commissioner of
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     the Social Security Administration is REVERSED, and the action is REMANDED
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     for further proceedings consistent with the Memorandum and Order.
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     Dated: October 06, 2021
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24                                              HONORABLE MARGO A. ROCCONI
                                                United States Magistrate Judge
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      Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B) and the
     recommendation of the Committee on Court Administration and Case Management of the Judicial
28   Conference of the United States.
